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                                                                                   ORIGINAL
    UNITED STATES DISTRJCT COURT
    SOUTHERN DISTRICT OF NEW YORK

     UNITED STATES OF AMERJCA                               SEALED INDICTMENT

                          V.                                23 Cr.

     JEREMY JOSEPH,

                               Defendant.                             CRIM
                                          COUNT ONE
                    (Threatening Physical Harm by Interstate Communication)

           The Grand Jury charges:

           1.     From in or about December 2022 through at least in or about January 2023 , in the

    Southern District of New York and elsewhere, JEREMY JOSEPH, the defendant, knowingly and

    intentionally did transmit in interstate and foreign commerce communications containing threats

    to injure the person of another, to wit, JOSEPH sent electronic communications to an individual

    ("Victim-I") in New York, New York threatening physical harm to Victim-I.

                               (Title 18, United States Code, Section 875(c).)
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                                          COUNT TWO
                    (Threatening Physical Harm by Interstate Communication)

           The Grand Jury further charges:

           2.     From in or about December 2022 through at least in or about January 2023 , in the

    Southern District of New York and elsewhere, JEREMY JOSEPH, the defendant, knowingly and

    intentionally did transmit in interstate and foreign commerce a communication containing a threat

    to injure the person of another, to wit, JOSEPH sent electronic communications to an individual

    ("Victim-2") in New York, New York threatening physical harm to Victim-2.

                             (Title 18, United States Code, Section 875(c).)




                                                         AMIAN WILLIAMS
                                                        United States Attorney
